Case 2:04-cr-20183-SH|\/| Document 157 Filed 06/06/05 Page 1 of 3 Page|D 182

 

IN THE UNITED sTATEs DISTRICT COURT F!:.ED Q-.,. »
FoR THE WESTERN DISTRICT oF TENNESSEE “ ''''' ' ~~~~~~ c ¢’).c,
wEsTERN DIvIsIoN 05 JLW _5 P
h3g
ao
mb§r§<.} ;j:~ e;§;§?{}£_z@
UNITED sTATEs oF AMERICA ) ` G" ill fr§i§p;.e,,§
)
Plaintiff, )
)
vs ) CR. No. 04-20183-13
)
JONATHAN CARR )
)
Defendant. )

 

ORDER TO SURRENDER

 

The defendant, Jonathan Carr, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Forrest City,
P.O. Box 7000, Forrest City, Arkansas 72335 by 2:{)0 p.m. on FRIDAY, OCTOBER 28, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Offlce of the Clerk, Federal Office Building, 167 N. Main Street, Roorn 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant Will report as ordered to the facility named above.

ENTERED this the é day of June, 2005.

 

NITED STATES DISTRICT JUDGE

amwmwww
¢0

@

Case 2:04-cr-20183-SH|\/| Document 157 Filed 06/06/05 Page 2 of 3 Page|D 183

ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 157 in
case 2:04-CR-20183 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Leonard E. Lucas

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

